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              In the United States Court of Federal Claims
                                          No. 09-185 C
                                     (Filed March 27, 2009)
 RED RIVER HOLDINGS, LLC,                         )
                  Plaintiff,                      )
                                                  )
                 v.                               )
                                                  )
 THE UNITED STATES,                               )
                                 Defendant.       )

                                             ORDER

      This post-award bid protest concerns Solicitation No. N00033-08-R-3317 by
the United States Department of the Navy, Military Sealift Command (“MSC”),
requesting proposals under MSC’s pre-positioning program, pursuant to which MSC
time charters1/ commercial vessels on a long term basis. The ships remain at sea
loaded with materials, ready to rapidly respond with delivery as needs may arise.

       Red River Holdings, LLC (“Red River”) submitted a proposal. The contract
was awarded to Sealift, Inc. (“Sealift”), the only other offeror. Red River filed a
protest with the Government Accountability Office (“GAO”) on March 5, 2009,
which was summarily dismissed on March 18, 2009. Red River filed its Complaint
for Declaratory and Injunctive Relief in the United States Court of Federal Claims on
March 26, 2009. The Complaint alleges that MSC’s evaluation of Sealift’s proposal
was arbitrary and capricious, because Sealift could not and would not meet the
technical solicitation requirements concerning climate control and cocoon system.
It is also alleged that MSC’s determination that Sealift’s vessel would meet the
contract requirements was unreasonable, irrational and contrary to law. Prejudice is
asserted in that Red River submitted the only technically acceptable proposal and
should have been awarded the contract. The Complaint also asserts that by
improperly relaxing the Solicitation requirements concerning capacity and climate



       1/
           “A time charter is a service contract in which the contractor is responsible for engaging the
crew, [and] maintaining and navigating the ship in accordance with MSC directions.” Sealift, Inc.
v. Reilly, 496 F. Supp. 2d 52, 53 n.1 (D.D.C. 2007).
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control, Red River was prejudiced because it did not have an opportunity to compete
under a lesser standard, in violation of the Competition in Contracting Act.

       The initial issue presented by the Complaint is whether the court possesses
jurisdiction over this case. See, e.g., Folden v. United States, 379 F.3d 1344, 1354
(Fed. Cir. 2004) (“subject-matter jurisdiction may be challenged at any time by the
parties or by the court sua sponte”); Consol. Coal Co. v. United States, 351 F.3d
1374, 1378 (Fed. Cir. 2003) (“under federal rules any court at any stage in the
proceedings may address jurisdictional issues”). Any party may challenge subject
matter jurisdiction at any point in a proceeding, even initially upon appeal. Arbaugh
v. Y & H Corp., 546 U.S. 500, 506 (2006).

       This bid protest concerns a contract, to hire a vessel for carriage of cargo,
which appears to be wholly maritime in nature and thus may fall within the exclusive
jurisdiction of district courts. This is clearly the situation with maritime contract
disputes. See Marine Logistics, Inc. v. England, 265 F.3d 1322 (Fed. Cir. 2001); Sw.
Marine of San Francisco, Inc. v. United States, 896 F.2d 532, 534 (Fed. Cir. 1990)
(“Jurisdiction over matters arising in admiralty, including maritime contracts, has
traditionally been with the federal district courts.”); Alaska Barge & Transp., Inc. v.
United States, 179 Ct. Cl. 216, 220, 373 F.2d 967, 970 (1967) (“In our system of
Federal courts, jurisdiction over maritime matters is vested exclusively in the district
courts, and the Court of Claims is precluded from entertaining such actions, even
though they might otherwise be cognizable under the terms of the Tucker Act.”). See
also Matson Navigation Co. v. United States, 284 U.S. 352, 359-60 (1932) (holding
that the Court of Claims did not have jurisdiction over a contract whose subject
matter was covered by the Suits in Admiralty Act, 46 U.S.C. § 742 (1932), providing
for jurisdiction in federal district courts).

       While district court jurisdiction over maritime contract disputes appears to be
settled, rulings on bid protest jurisdiction differ. Accordingly, as an initial matter, bid
protest subject matter jurisdiction must be addressed. Asta Eng’g, Inc. v. United
States, 46 Fed. Cl. 674, 676 (2000) (“In light of the long history of exclusive district
court admiralty jurisdiction, over maritime contract matters, the Tucker Act
amendments, codified in 28 U.S.C. § 1491(b), cannot be held to confer concurrent
Suits in Admiralty Act jurisdiction on the United States Court of Federal Claims.”);
Bayship Mgmt., Inc. v. United States, 43 Fed. Cl. 535, 536 (1999) (“‘Jurisdiction over
matters arising in admiralty, including maritime contracts, has traditionally been with
the federal district courts.’”) (quoting Sw. Marine of San Francisco, 896 F.2d at 534).
 See also Patriot Contract Servs. v. United States, 388 F. Supp. 2d 1010, 1017 (N.D.

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Cal. 2005) (assuming district court jurisdiction post-sunset), vacated without
reaching merits, 154 Fed. Appx. 202 (Fed. Cir. 2005); Puglia Eng’g v. United States
Coast Guard, No. C-04-04794-CRB, 2005 WL 106785 (N.D. Cal. Jan. 18, 2005)
(exercising jurisdiction over maritime bid protest). But see Transatlantic Lines LLC
v. United States, 68 Fed. Cl. 48 (2005) (resolving maritime bid protest without
addressing subject matter jurisdiction); Sealift, Inc. v. Reilly, 496 F. Supp. 2d 52, 53-
54 (D.D.C. 2007) (transferring maritime bid protest to Court of Federal Claims).

       “[N]o action of the parties can confer subject-matter jurisdiction upon a federal
court. Thus, the consent of the parties is irrelevant” where jurisdiction does not exist
in the first place.” Ins. Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456
U.S. 694, 702 (1982); see also In re Alappat, 33 F.3d 1526, 1530 (Fed. Cir. 1994) (en
banc) (“[J]urisdiction cannot be conferred on this court by waiver or acquiescence [by
a party].”); Jeppesen Sanderson, Inc. v. United States, 19 Cl. Ct. 233, 237 (1990)
(“[N]either actions of the parties nor of other courts can confer jurisdiction on this
court where it does not otherwise exist.”); Munro v. United States, 303 U.S. 36, 41
(1938) (government attorney “had no power to waive conditions or limitations
imposed by statute in respect of suits against the United States”).

       Subject matter jurisdiction may be raised initially on appeal even if the parties
concede or do not address it. Immunocept, LLC v. Fulbright & Jaworski, LLP, 504
F. 3d 1281, 1284 (Fed. Cir. 2007); Hambsch v. United States, 857 F.2d 763, 765 (Fed.
Cir. 1988).

       It is therefore prudent to examine jurisdiction before proceeding to the merits
of this bid protest.

      Accordingly, it is ORDERED:

      1. The parties are requested to file briefs, addressing the issue of jurisdiction,
on or before April 13, 2009;

      2. The briefs should also indicate where this action should be transferred,
pursuant to section 28 U.S.C. § 1631, should this court conclude it lacks subject
matter jurisdiction.

                                                s/ James F. Merow
                                                James F. Merow
                                                Senior Judge

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